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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Newport News Division



 MOBILIZATION FUNDING,L.L.C.,

                 Plaintiff,

 V.                                                   CIVIL ACTION NO.4:18-CV-72

 W.M.JORDAN COMPANY,INC.,

                 Defendant.


                              MEMORANDUM OPINION AND ORDER


          Before the Court is W.M. Jordan's("Jordan") Motion to Dismiss under Federal Rule of

 Civil Procedure 12(b)(1),(6), and (7). ECF Nos. 22-23. For the reasons set forth below,

 Jordan's Motion to Dismiss is GRANTED IN PART AND DENIED IN PART.


                       I.     FACTUAL AND PROCEDURAL HISTORY


          The following facts are taken from Mobilization's Complaint and are taken to be true and

 cast in the light most favorable to Mobilization. Adams v. Bain,697 F.2d 1213,1219(4th Cir.

 1982).

          Jordan entered into a General Contract with Riverside Retirement Services ("Riverside")

 to build the Apartments at Patriots Colony in Williamsburg, Virginia. ECF No. 1 dX^S', see ECF

 No. 1-1. On December 12, 2016, Jordan entered into a Subcontract Agreement with Mexarg

 Contractors, LLC ("Mexarg"). ECF No. 1 at        11-12; see ECF No. 1-2. Jordan had a project

 manager, Jerry Barthelemy("Barthelemy") who approved payments to its subcontractors. ECF

 No. 1 at    9-10. On January 10, 2018, Mexarg's own subcontractor complained that Mexarg

 had not paid them. Id. at H 14. On January 20, 2018, Mexarg submitted a payment application
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(Payment Application No.6)to Jordan, which Barthelemy did not notify Mexarg that he had

 approved it. Id. at^^ 17-18.

        On January 30,2018, Mexarg entered into a loan agreement with Mobilization for up to

 $361,155; the loan was secured by contract assignments, among other collateral. Id. at    19, 21;

 see ECF No. 1-5 at 3. On January 31, 2018, Jordan entered into a Joint Check Agreement

("JCA") with Mexarg and Mobilization, which allows Jordan to write checks jointly to both

 Mexarg and Mobilization. ECF No. 1 a.t^2\;see ECF No. 1-7. JCAs are commonly used in the

 construction industry. ECF No. 1 at ^ 20. Essentially, instead of Jordan writing a check to

 Mexarg who would then write a separate check to Mobilization to repay the loan, the JCA allows

 Jordan to write checks to both companies for Mexarg's subcontract work that Mobilization

 would be able to cash directly. See id. at   46-48. During the time that Mobilization entered

 the Loan Agreement with Mexarg and the JCA with Mexarg and Jordan, it did not know and was

 never informed of the issues Mexarg had with its nonpayment of its subcontractors. Id. at ^ 22.

        On February 1, 2018, Jordan told Mexarg and Mobilization that it had approved Payment

 Application No.6 and that it would issue a joint check pursuant to the JCA. See id. at ^ 25. On

 February 2, 2018, Mobilization released $140,000 of the loan to Mexarg, which Mexarg used to

 pay its subcontractors. Id. at   30-31. On February 8, 2018, Jordan discovered that Mexarg

 had sent bounced checks to its subcontractors and did not inform Mobilization. Id. at ^ 32. As

 such, Jordan refused to issue a joint check despite approved Payment Application No. 6. Id. at H

 33. That same day, Barthelemy approved a payment plan to satisfy the bounced checks to

 Mexarg's subcontractors, for which Mobilization provided an additional $46,000 to Mexarg in

 exchange for an assignment of Mexarg's Payment Application No. 7. Id. at       34-37.
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        On February 23, 2018, Jordan terminated the Subcontract Agreement with Mexarg,

 arguing that Mexarg had breached the contract. Id. at 38. Mexarg argues that its inability to

 complete the work was due to Jordan's mismanagement. Id. Jordan has not written any joint

 checks to Mobilization or Mexarg. Id. at H 39.

        On June 11, 2018, Mobilization sued Jordan for what it claims are outstanding payments

 under various legal theories, including conversion(Count I), unjust enrichment(Count II),

 equitable estoppel(Count III), and actual and constructive fraud (Count IV and Count V,

 respectively). Id. at   58-106. Mobilization seeks to recover the $186,000 it loaned to Mexarg,

 punitive damages, attorneys' fees, and prejudgment and post-judgment interest. Id. at 16-17.

        Jordan filed three motions to dismiss on June 27, 2018. See ECF Nos. 6-11.

 Mobilization filed three responses on July 11,2018. See ECF Nos. 14-16. Jordan replied on

 July 17, 2018. See ECF Nos. 18-20. On September 10, 2018, the Court ordered Jordan to refile

 a single motion because the multiple motions violated the Local Rules. ECF No. 21. On

 September 12, 2018, Jordan filed its single Motion to Dismiss at issue here. See ECF Nos. 22-

 23. Jordan seeks to dismiss the action under Federal Rule of Civil Procedure 12(b)(1), 12(b)(6),

 and 12(b)(7). Id. Mobilization opposed the motion on September 26,2018. ECF No. 25.

 Jordan replied on October 1, 2018. ECF No. 26.

                                  II.   LEGAL STANDARD

 A. Lack of Subject Matter Jurisdiction under Rule 12(b)(1)

    I. Generally

        Federal Rule ofCivil Procedure 12(b)(1)provides for the dismissal ofan action ifthe Court

 lacks subject matter jurisdiction. Unless a matter involves an area over which federal courts have

 exclusive jurisdiction,see 28 U.S.C. §§ 1333-34, a plaintiff may bring suit in federal court only if
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the matter involves a federal question arising "under the Constitution,laws or treaties ofthe United

States," § 1331, or if"the matter in controversy exceeds the sum or value of$75,000, exclusive of

interests and costs, and is between citizens of different States." § 1332(a)(1).

       The court assumes that all factual allegations in the complaint are true if it is contended

that a complaint simply fails to allege facts upon which subject matter jurisdiction can be based.

Adams,697 F.2d at 1219. However,ifthe factual basis for jurisdiction is challenged, the plaintiff

has the burden of proving subject matter jurisdiction. Richmond, Fredericksburg & Potomac R.R.

Co. V. United States, 945 F.2d 765,768(4th Cir. 1991). The plaintiff bears the burden of proving

that subject matter jurisdiction exists by a preponderance of the evidence. United States ex rel.

 Vuyyuru v. Jadhav, 555 F.3d 337, 347-48 (4th Cir. 2009). To determine whether subject matter

jurisdiction exists, the reviewing court "may consider evidence outside the pleadings without

converting the proceeding to one for summaryjudgment." Velasco v. Gov't ofIndonesia,370 F.3d

392, 398(4th Cir. 2004)          Adams,697 F.2d at 1219). A party moving for dismissal for lack

of subject matter jurisdiction should prevail only if material jurisdictional facts are not in dispute

and the moving party is entitled to prevail as matter oflaw. Richmond, Fredericksburg & Potomac

R.R. Co., 945 F.2d at 768. If a court lacks subject matter jurisdiction, it must dismiss the action.

Fed. R. Civ. P. 12(h)(3).

    2. Ripeness

       Ripeness is a justiciability doctrine that requires federal courts to withhold considering any

actions that are based "upon 'contingent future events that may not occur as anticipated, or indeed

may not occur at all.'" Texas v. United States, 523 U.S. 296,300(1998)(quoting Thomas v. Union

Carbide Agric. Prods. Co., 473 U.S. 568, 580-81 (1985)). In determining whether a case is ripe

or not, the Court must'"balance the fitness ofthe issues for judicial decision with the hardship to
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the parties of withholding court consideration.'" Miller v. Brown, 462 F.3d 312, 319 (4th Cir.

2006)(quoting Franks v. Ross,313 F.3d 184, 194(4th Cir. 2002)). An action is deemed fit"when

the issues are purely legal and when the action in controversy is final and not dependent on future

uncertainties." Id. (citing Charter Fed. Sav. Bank v. Office of Thrift Supervision, 976 F.2d 203,

208(4th Cir. 1992)). Hardship is determined by comparing "'the immediacy ofthe threat and the

burden'" on the party bringing suit. Id. (quoting Charter Fed. Sav. Bank v. Office of Thrift

Supervision, 976 F.2d 203, 208-09(4th Cir. 1992)).

B. Failure to State a Claim under Rule 12(b)(6)

       Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of actions that fail to state

a claim upon which relief can be granted. The United States Supreme Court has stated that in

order "[t]o survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face." Ashcroft v. Iqbal, 556 U.S.

662,678(2009)(quoting Bell Atl. Corp. v. Twombly,550 U.S. 544,570(2007)). Specifically,"[a]

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged." Id. at 678.

Moreover, at the motion to dismiss stage, the court is bound to accept all of the factual allegations

in the complaint as true. Id. However,"[t]hreadbare recitals ofthe elements of a cause of action,

supported by mere conclusory statements, do not suffice." Id. Assessing the claim is a "context-

specific task that requires the reviewing court to draw on its judicial experience and common

sense." Id. at 679.


       In considering a Rule 12(b)(6) motion to dismiss, the Court cannot consider "matters

outside the pleadings" without converting the motion to a summary judgment. Fed. R. Civ. P.

12(d). Nonetheless, the Court may still "consider documents attached to the complaint,...as well
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as those attached to the motion to dismiss, so long as they are integral to the complaint and

authentic." Sec'y ofState for Defence v. Trimble Navigation Ltd., 484 F.3d 700, 705 (4th Cir.

2007);see also Fed. R. Civ. P. 10(c); Bassett v. NCAA,528 F.3d 426,430(6th Cir. 2008)("When

a court is presented with a Rule 12(b)(6) motion, it may consider the Complaint and any exhibits

attached thereto, public records, items appearing in the record of the case and exhibits attached to

defendant's motion to dismiss so long as they are referred to in the Complaint and are central to

the claims contained therein.").

C. Failure to Join an Indispensable Party under Rule 12(b)(7)

        Federal Rule of Civil Procedure 12(b)(7) states that an action should be dismissed if a

necessary party cannot be joined under Rule 19. In considering a Rule 12(b)(7) motion to

dismiss for failure to join a party pursuant to Rule 19, courts are required to make a two-part

inquiry. First, courts must determine whether the party is necessary to the proceeding because of

its relationship to the matter under consideration within the meaning of Rule 19. Teamsters

Local Union No. 171 v. Keal Driveway Co., 173 F.3d 915,917(4th Cir. 1999). Rule 19(a) states

that someone is a required party if"the court cannot accord complete relief among existing

parties" without that person or if that person "claims an interest relating to the subject of the

 action and is so situated that disposing of the action in the person's absence may" hurt their

"ability to protect their interest" or "leave an existing party subject to a substantial risk of

incurring double, multiple, or otherwise inconsistent obligations because of the interest."

        Second, if the party would destroy jurisdiction, a court must determine if the action can

continue in that party's absence. Teamsters Local Union No. 171, 173 F.3d at 917-18. "If it

cannot, the party is indispensable and the action should be dispensed." Id. at 918. Under Rule

 19(b), if the necessary party cannot be joined to the suit, then "the court must determine whether,

in equity and good conscience, the action should proceed among the existing parties or should be
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dismissed." Generally,"[c]ourts are loath to dismiss cases based on nonjoinder of a party, so

dismissal will be ordered only when the resulting defect cannot be remedied and prejudice or

inefficiency will certainly result." Owens-Ill, Inc. v. MeadCy 186 F.3d 435,441 (4th Cir. 1999).

        A court considers various factors in making this determination, including(1) whether a

judgment without the necessary party "would prejudice that person or the existing parties";(2)if

any such prejudice could be lessened based on how the judgment was rendered;(3) whether a

judgment without the necessary party would be adequate; and (4) whether the plaintiff"would

have an adequate remedy if the action were dismissed." Fed. R. Civ. P. 19(b). This analysis

under Rule 19 at both steps is not a "procedural formula," but rather a decision that'"must be

made pragmatically, in the context of the substance of each case.'" Home Buyers Warranty

Corp. V. Hanna,750 F.3d 427,433(4th Cir. 2014)(quoting Provident Tadesmens Bank & Trust

Co. V. Patterson, 390 U.S. 102, 119 n.l6(1968)).

        Finally, in determining where a potential necessary party should be aligned, courts do not

rely on the parties' own determinations. Jackson v. Home Depot U.S.A., Inc., 880 F.3d 165, 172

(4th Cir. 2018). Instead, courts must"look beyond the pleadings and arrange the parties

according to their sides in the dispute." Id. (citation omitted). Courts must "determine the

primary issue in controversy and then align the parties according to their positions with respect

to that issue." Id. (quoting U.S. Fidelity & Guar. Co. v. A&SMfg. Co., Inc., 48 F.3d 131, 133

(4th Cir. 1995)). This is called the "principal purpose" test. Id.

                                     III.   DISCUSSION

A. Subject Matter Jurisdiction under Rule 12(b)(1)

    I. Has Mobilization Adequately Pled Diversity Jurisdiction?

        Jordan initially argued that Mobilization failed to allege the citizenship of its members

and therefore it did not adequately plead diversity jurisdiction. ECF No. 23 at 3-4. Mobilization
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attached an affidavit to its response to Jordan's Motion. ECF No. 25-2 at 1. Jordan agrees that

this is sufficient and concedes the point. ECF No. 26 at 4 n.5. Because the Court may consider

evidence outside the pleadings, the Court finds that Mobilization has adequately pled diversity

jurisdiction between the two parties. Velasco, 370 F.3d at 398.

   2. Is the Action Ripefor Judicial Determination?

       Jordan argues that Mobilization's action against it is not ripe because "it is unknown

whether Mexarg will satisfy the loan to Mobilization; whether Mexarg has assets to satisfy the

loan; whether Mexarg has provided sufficient collateral to Mobilization to satisfy the loan; or

whether the two guarantors of the loan are able to satisfy the loan." ECF No. 23 at 10.

However, Jordan misunderstands the purpose of ripeness. This doctrine is concemed with

whether the claims before the Court are clearly presented and able to be decided at the time of

suit. See Miller, 462 F.3d at 319. Mobilization's action is purely based on Jordan's prior actions

and does not rely on any hypothetical future actions. If Mexarg were to pay off the loan

tomorrow. Mobilization would likely dismiss the suit, and that would be the end of it. There is

no concem that Mobilization's action is "dependent on future uncertainties." Id. Therefore, the

Court finds that the action is ripe for judicial determination.

B. Failure to State a Claim under Rule 12(b)(6)

       Jordan raising four different bases under Rule 12(b)(6); two that apply to the entire suit

and two that are for specific claims. First, Jordan argues that all of Mobilization's claim fail

because the suit is based purely on contracts, and a plaintiff cannot recover contractual claims

under tort-based causes of action pursuant to the economic loss rule in Virginia. ECF No. 23 at

12-18. Second, Jordan argues that the JCA prevents Mobilization from recovering the loan

amount from Mobilization. Id. at 21-22. Third, Jordan states that Mobilization's conversion
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 claim fails because "money generally cannot be converted." Id. at 18. Finally, Jordan argues

 that the unjust enrichment claim fails because Mobilization has not sufficiently alleged that

 Jordan has received a cognizable benefit. Id. at 19-20. The Court will take each of these

 arguments in turn.

    I. Does the Economic Loss Rule Prevent Recovery?

        a. The Economic Loss Rule


        Under the economic loss rule in Virginia, parties that sue for purely economic losses

 under contract may only recover under the requisite contract because "losses suffered as a result

 of the breach of a duty assumed only by agreement, rather than a duty imposed by law, remain

 the sole province of the law of contracts." Filak v. George,267 Va,612,618(2004). Tort law

 does not"compensate parties for losses suffered as a result of a breach of duties assumed only by

 agreement. That type of compensation necessitates an analysis of the damages which were

 within the contemplation of the parties when framing their agreement. It remains the particular

 province of the law of contracts." Sensenbrenner v. Rust, Orling & Neale, Architects, Inc., 236

 Va. 419,425(1988)(citing Kamlar Corp. v. Haley, 224 Va. 699, 706(1983)).

        Mobilization attempts to narrow the scope ofthe economic loss rule and argues that the

 economic loss rule does not apply if a plaintiff can make out a legitimate tort claim in addition to

 a breach of contract claim. ECF No. 25 at 5-6. In Mobilization's view, if a plaintiff can

 sufficiently allege a constructive fraud claim based on facts that are distinct from a breach of

 contract claim, the economic loss rule does not prevent the party from pursuing the former. See

 City ofRichmond v. Madison Mgmt. Grp., Inc., 918 F.2d 438,446-47(4th Cir. 1990); cf. Abi-

 Najm V. Concord Condo., LLC.,280 Va. 350, 361 (2010)(holding that plaintiffs could pursue a

 fraud and a breach of contract claim because the fraud action stemmed from facts before the
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 contract was in place). Mobilization also notes that Virginia, like many other courts, allows

 plaintiffs to bring tort and contract claims in the same suit if they "arise out of the same

 transaction or occurrence." Va. Code Ann. § 8.01-272.

        Jordan argues that the Supreme Court of Virginia has definitively rejected this argument

 in Filak v. George,267 Va. 612(2004). In Filak, the plaintiffs sued their insurance agent for

 breach of contract and constructive fraud because she had orally promised them that their

 insurance policy would cover up to $481,000 when in fact their policy only covered up to

 $290,000. See id. at 614-16. The Supreme Court of Virginia held that the plaintiffs could not

 pursue their constructive fraud claim because they "merely sought recovery for losses allegedly

 suffered as a result of[the agent's] failure to fulfill her oral contract to procure a policy that

 would pay the total replacement costs ofthe plaintiffs' home within a few days after sustaining a

 total loss." Id. at 618.


        The parties' arguments are ships in the night. Mobilization is correct that it may bring

 whatever tort-based cause of action without violating the economic loss rule provided that the

 tort actions have an independent basis and are not contract claims in tort claims' clothing.

 Madison Mgmt. Grp.,918 F.2d at 446; cf. Sensenbrenner, 236 Va. at 425. Jordan is also correct

 that a constructive fraud claim cannot be used to disguise a breach of contract claim. Filak, 267

 Va. at 618. Both of these propositions coexist without infringing on each other. The Virginia

 jurisdictional statute at least contemplates as much. See Va. Code Ann. § 8.01-272. Although

 this statute is merely jurisdictional and does not answer the legal question of how the economic

 loss rule applies, it at least demonstrates that there are instances where tort and contract actions

 may be pursued jointly.




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        In order to determine if the economic loss rule prevents Mobilization from pursuing its

 tort-based claims, the Court must determine two things:(1)Is the JCA a contract; and if so,(2)

 Are Mobilization's tort claims independent claims or rather artful pleadings of a run-of-the-mill

 breach of contract claim.


        b. Is the JCA a Contract?


        Mobilization alleges that the JCA is an equitable assignment. ECF No. 1 at ^ 45. An

 equitable assignment exists when there is a '"transfer of the fund or some definite portion of it,

 so that the person owing the debt or holding the ftind on which the order is drawn can safely pay

 the order, and is compellable to do so, though forbidden by the drawer.'" Edmunds v. CBC

 Enters., Inc., 261 Va. 432,436(2001)(quoting Hicks v. Roanoke Brick Co., 94 Va. 741, 745-46

 (1897)). Due to its equitable nature, such assignments do not require any particular wording or

 acts, but rather "the intention of the assignor is the controlling consideration ...[which] must be

 manifested by some word, written or oral, or by some act inconsistent with the assignor's

 remaining as owner." Id, {quoimg Nusbaum & Co. v. All. Realty, 206 Va. 673,681 (1966)). In

 other words,"if the assignor retains any control whatsoever over the fund or property to be

 assigned, then an assignment has not been effected." Id. at 437. Documents that provide for

 joint checks have been held to constitute equitable assignments. Va. Machinery & Well Co. v.

 Hungerford Coal Co., 182 Va. 550,557(1944). However, sufficient evidence must be presented

 to make such a finding. Edmunds,261 Va. at 438.

        Construing all facts in the light most favorable to Mobilization, the Court finds that

 Mobilization has sufficiently pled facts to allege that the JCA is an equitable assignment.

 Mobilization alleges that the JCA requires Jordan to pay Mobilization "when payment became

 due as set forth by the Subcontract Agreement." ECF No. 1 at ^ 49. The Subcontract




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 Agreement, in turn, requires Mexarg to submit payment applications to Jordan, and only after

 Jordan approved these applications, would Mexarg be paid. Id. at                     51-53. Under these

 allegations. Mobilization has sufficiently alleged that the JCA is an equitable assignment from

 Mexarg to Mobilization for any payments from Jordan.' Mobilization even has affidavits from

 Mexarg that state the same.^ ECF No. 25-1 at 1.

          However, even if Mobilization is correct that the JCA is an equitable assignment, the

 document must still be considered a contract. Virginia law requires that any agreement "to

 charge any person upon a promise to answer for the debt, default, or misdoings of another" or "to

 lend money or extend credit in aggregate amount of$25,000 or more" must be in writing. Va.

 Code Ann. § 11-2(4),(9). The JCA contemplates Jordan writing a check to both Mexarg and

 Mobilization because Mexarg has assigned its rights of payment in order to receive up to

 $361,155. See ECF No. 1 at 19. The JCA charges Jordan to answer for Mexarg's debt from

 the Loan Agreement between Mexarg and Mobilization. See id. Therefore, regardless of

 whether or not the JCA is an equitable assignment, it still must be considered a contract.

          Moreover, Mobilization argues against itself. When arguing about its unjust enrichment

 claim. Mobilization states that Jordan has a received a benefit from the JCA in the form of"the

 ^efficient administration of the General Contract.'" ECF No. 25 at 14(quoting ECF No. 1-2 at

 3). This is sufficient consideration for the benefit Mobilization received in the form of the

 security of payment through joint checks. See Richmond Eng'g & Mfg. Corp. v. Loth, 115 S.E.

 774,787(Va. 1923)("[W]hether the consideration was commensurate with the promise is


'Mobilization alleges at one point that "[Jordan] assigned Mexarg's right to payment under the Subcontract
 Agreement to Mobilization" through the JCA. ECF No. 1 at ^ 59. This makes no sense as a party of a contract
 cannot assign the rights ofthe other party without at least that right-holder's acceptance; only the party with the right
 can assign that right. See Allstate Ins. Co. v. Am. Bankers Ins. Co ofFla., 882 F.2d 856,859-60(4th Cir. 1989); cf.
 Edmunds,261 Va. at 436. In order to be a valid assignment, Mexarg must be the assignor, not Jordan.
 ^ The Court notes this purely as supplemental and does not explicitly consider evidence outside the pleadings as it
 declines to convert the current motion to dismiss into a motion for summary judgment. See Fed. R. Civ. P. 12(d).


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immaterial. If the consideration has any value whatever, it is, in such case, sufficient to support

the promise and render it enforceable."); see also Restatement(Second)of Contracts §§ 71,79

(Am. Law Inst. 1981).

        Mobilization tries to get around this issue by arguing that the JCA created a constructive

trust for the joint checks. EOF No. 25 at 8-9. In support of this contention, Mobilization cites to

a bankruptcy case where the parties did not dispute that the contractor owed money to the now

bankrupt subcontractor. See Mid-Atl. Supply, Inc. v. Three Rivers Aluminum Co.^ 790 F.2d 1121,

 1122-24, 1126-27(4th Cir. 1986). Beyond Just the unrelated factual basis, the case is also

inapposite for the simple reason that this particular equitable assignment must be contractual in

order to be actionable under Virginia law. See Va. Code Ann. § 11-2. Mobilization's idea that

the JCA created a constructive trust appears to be nothing more than artful twisting ofthe laws of

equity to avoid bringing what should be a contract claim. There cannot be a constructive trust

where there is already a contractual foundation. Therefore, the Court finds that the JCA must be

a contract, regardless of whether it is considered an equitable assignment or not.

        c. Are Mobilization's Tort Claims Just Breach of Contract Claims?


        Mobilization brings several claims under tort law including: conversion, unjust

enrichment, equitable estoppel, actual fraud, and constructive fraud. ECF No. 1 at 9-16.

Because the JCA is a contract, Mobilization cannot bring a tort-based claim under this

agreement, although it may bring tort actions that arise from the same occurrence but outside the

terms of the contract. Va. Code Ann. § 8.01-272; Madison Mgmt, Grp.,918 F.2d at 446; Filak,

267 Va.at618.


        As an initial matter. Mobilization argues that its tort actions are its only form of relief

because the JCA specifically disavows Mobilization of any contractual rights against Jordan.




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ECF No. 1-6 at 2. This makes sense because it was Mexarg who assigned its rights to

Mobilization, not Jordan. As the JCA itself acknowledges, Jordan's obligations are to Mexarg

pursuant to the Subcontract Agreement. Id. As the party who writes the joint checks, Jordan

does not have any contractual obligations to Mobilization, only Mexarg as the assignor does.^

         Mobilization's Count I of conversion automatically fails. This claim is solely based on

the theory that the JCA created a constructive trust in the two payments Jordan had approved,

and therefore Jordan converted money to which Mobilization is entitled under the JCA and the

Subcontract Agreement. ECF No. 1 at                58-68. As noted above, the JCA is an equitable

assignment under contract, not a constructive trust. Therefore, Jordan cannot be held liable for

conversion of the corpus of an alleged constructive trust.

         Count II, Mobilization's unjust enrichment claim, fails as well. Mobilization seeks to

recover the amount they are owed under the JCA and the Subcontract Agreement arguing that

Jordan unjustly received a benefit of the "efficient administration ofthe General Contract." Id.

at Yli 69-15. The JCA is a contract, and the unjust enrichment claim here is basically the same as

a normal breach of contract claim. Mobilization points out that the JCA specifically states that it

 has no contractual rights. ECF No. 1-6 at 2. But Mobilization chose to bargain away its rights.

It cannot claim it is entitled to a tort-based claim because it chose to sign away its contractual

 rights. Relying on this language of the contract cannot circumvent the economic loss rule.

 Furthermore, Mobilization could recover its losses through the Loan Agreement it has with

 Mexarg, so it still has some method of recovery.

         Mobilizations' claim of equitable estoppel. Count III, is not a cognizable cause of action

 but an affirmative defense. See Parker v. Westat, Inc., 301 F. Supp. 2d 537, 544(E.D. Va.


 ^ The conversion claim is so circuitous for this very reason: Mobilization would likely have a claim against Mexarg,
 but instead has sued Jordan. This is why Mexarg is a key player in this litigation. See infra at III.C.


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2004); see, e.g., Luddeke v. Amana Refrigeration, Inc., 239 Va. 502, 503,505(1990)(plaintiff

raising equitable estoppel as a defense to defendant's argument that his breach of warranties

claim was barred by a statute of limitations). As such, the Court need not consider this count any

further.


        In Counts IV and V, Mobilization pleads two counts offraud, actual fraud and

constructive fraud. Like the unjust enrichment claim, these two counts are not based on the JCA

itself, but rather Jordan's omissions prior to the JCA. Mobilization's fraud claims are focused on

Jordan's failure to inform Mobilization of Mexarg's nonpayment of its subcontractors.

Therefore, the economic loss rule is again rendered inapplicable to these two counts.

        The Court therefore finds that the economic loss rule precludes Counts I and II, Count III

is not a cognizable claim, and Counts IV and V are not barred by the economic loss rule.

    2. Does the JCA Prevent Recovery?

        Jordan's next argument is that the Court should dismiss all of Mobilization's claims

because the JCA "does not require [Jordan] to pay any funds directly to Mobilization." ECF No.

23 at 21-22. While courts interpret unambiguous contract terms by their plain meaning, TravCo

Ins. Co. V. Ward,284 Va. 547,552(2012)(quoting Barber v. VistaRMS, Inc., 272 Va. 319, 329

(2006)),"[t]he guiding light in the construction of a contract is the intention ofthe parties as

expressed by them in the words they have used, and courts are bound to say that the parties

intended what the written instrument plainly declares." Schuiling v. Harris, 286 Va. 187, 192-

93(2013)(quoting Wilson v. Holyfield, 221 Va. 184, 187(1984)). The JCA here clearly states

that Jordan should write joint checks to Mexarg and Mobilization. Jordan argues that

 Mobilization is trying to change the terms the JCA by asking Jordan to pay Mobilization directly.

ECF No. 23 at 22. However, this argument does not account for the intent of the JCA, which is




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for Mobilization to secure its ability to recover the money it had loaned to Mexarg. Therefore,

 Jordan's argument fails."^

          Moreover, Jordan attempts to change Mobilization's claims to claims for specific

performanc when it claims that Mobilization is only entitled to joint checks. ECF No.23 at 18.

 Mobilization seeks damages, not specific performance, and Jordan does not get to dictate what

relief Mobilization may request.

     3. Does Mobilization Fail to State a Conversion Claim?


         Jordan also argues that Count I fails under Virginia law because money cannot be subject

of a conversion action. ECF No. 23 at 18. However,this argument is erroneous, as Virginia law

does allow conversion claims "in cases where intangible property rights arise from or are merged

 with a document, such as a valid stock certificate, promissory note, or bond." United Leasing

Corp. V. Thrift Ins. Corp.., 247 Va. 299, 305(1994)(citing Triple-A Baseball Club Assocs. V. Ne.

Baseball, Inc., 655 F. Supp. 513, 538-39(D. Me. 1987)). Therefore, the Court rejects this

argument.^

     4. Does Mobilization Fail to State an Unjust Enrichment Claim?

         To establish a claim of unjust enrichment, a plaintiff must allege "(1)it conferred a

 benefit to [the defendant];(2)[the defendant] knew of the benefit and should reasonably have

 expected to repay [the plaintiff]; and(3)[the defendant] accepted or retained the benefit without

 paying for its value." Collelo v. Geographic Servs., Inc., 283 Va. 56, 83(2012). Jordan argues

 that Count II fails under Virginia law because Mobilization has insufficiently pled that Jordan




 ^ The Court also questions if this argument is proper under Rule 12(b)(6), as this appears to be more of an
 affirmative defense than a reason why Mobilization's Complaint fails to state a claim. However, because the Court
 finds that the argument is unavailing either way,the Court does not specifically delve into this topic.
 ^ To the extent Jordan is arguing here that Virginia law does not allow a conversion claim when there is a valid
 contract, the Court has already dealt with this argument, and will not rehash its views. See supra III.B.1.


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 received a benefit from Mobilization. ECF No. 23 at 19-20, Mobilization alleges the benefit to

 Jordan was the "efficient administration of the General Contract." ECF No. 1 at                      69-75.

 Jordan says that "this is a meaningless statement" and that really it was Mexarg that received the

 benefit, not Jordan. ECF No. 23 at 19.

          However,just because Mexarg received a benefit does not mean that Jordan itself did not

 benefit as well. Mobilization alleges that the General Contract has specific date benchmarks that

 the buildings must be completed and that there is a liquidated damages clause if Jordan fails to

 meet those deadlines. ECF No. 1 at               6-7. Mobilization further alleges that Jordan would

 receive bonuses if the work was completed ahead of schedule. Id. at T| 8. Based on these

 allegations, the Court finds that Mobilization has sufficiently alleged Jordan has received a

 benefit. Through the Loan Agreement between Mexarg and Mobilization and the JCA between

 the three, Jordan received the benefit of trying to ensure the work on the apartment building was

 done either on time or ahead of schedule. Construing the facts in the light most favorable to

 Mobilization, the Court finds that it has sufficiently alleged a benefit.^

 C. Failure to Join an Indispensable Party under Rule 12(b)(7)

          The core argument between the parties focuses on the status of Mexarg in relation to this

 lawsuit. Jordan argues that Mexarg is a necessary and indispensable party. ECF No. 23 at 4-8,

 12. Moreover, Jordan argues that Mexarg must be joined as a plaintiff, which would destroy

 diversity jurisdiction. Id. As such, the suit must be dismissed.

          Mobilization, on the other hand, argues that Mexarg is not an indispensable party or even

 necessary because the dispute it has with Jordan is only under the JCA and does not all affect any

 dispute between Jordan and Mexarg. ECF No. 25 at 16-21. Moreover, Mobilization argues that


 ^ To the extent Jordan argues here that an unjust enrichment claim is barred when there is a valid contract, the Court
 has already addressed this issue, and will not reiterate its findings. See supra III.B.l.


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 even if Mexarg is necessary, it should be considered a defendant in the case, which would not

destroy diversity. Id. at 21. Mobilization's core argument is that because the JCA is an equitable

assignment, Mexarg no longer has an interest in the joint checks. Id. Mobilization argues that

the reason why Mexarg appears to be necessary is because Jordan keeps raising its own concerns

of liability to Mexarg in its defenses. Id. at 17-18.

        However, Mobilization forgets that the JCA is tied to the Subcontract Agreement;

specifically, the JCA states that the joint checks are to be issued under the terms of payment in

the Subcontract Agreement. ECF No. 1 at          47-52. Mobilization alleges that this issue, for the

purposes of this action, is resolved because Jordan approved the Payment Applications related to

the two joint checks. Id. at     25, 34-37. Mobilization also points to an affidavit from Mexarg

stating that it has no interest in the joint checks. ECF No. 25-1 at 1.

        While Mexarg may not have an interest in the specific joint checks, it does have an

interest in whether or not Jordan is liable to pay based on the payment applications; specifically,

if the Court were to find Jordan liable to Mobilization for the joint checks, it must first find that

Jordan is liable to Mexarg for the amount owed in the payment applications. ECF No.23 at 5;

see ECF No. 1 at      47-52. If the payment applications require Jordan to issue the joint checks,

then Jordan is also on the hook for any amount Mexarg is owed under those applications.

 Mexarg has apparently already issued demand letters and recorded a mechanic's lien against

 Jordan, so it is clear that Mexarg has at least some interest in pursuing a claim at least partially

 based on these payment applications. ECF No. 23 at 7.

        Mobilization therefore ignores the possibility that this suit "leave[s][Jordan] subject to a

substantial risk of incurring double, multiple, or otherwise inconsistent obligations because of the

interest." Fed. R. Civ. P. 19(a)(l)(B)(ii). It would be odd,for example,for the Court to find that




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Jordan did not owe Mobilization for the joint checks, and then if Mexarg sues Jordan separately

for this Court or another court to find that Jordan owes Mexarg. The only way Jordan owes

either of these companies is if the payment applications require Jordan to pay them. Given that

the Subcontract Agreement between Jordan and Mexarg is such a core part of this action, the

Court finds that Mexarg is a necessary party under Rule 19(a).

        Since Mexarg is a Virginia corporation, if it were joined as a plaintiff, diversity

jurisdiction would indeed be destroyed. See 28 U.S.C. § 1332(a)(1). However,the parties

dispute whether Mexarg should be joined as a plaintiff or a defendant, and for good reason. On

one hand, Mexarg may have claims against Jordan because it is possibly owed money under the

Subcontract Agreement. On the other. Mobilization may have a claim against Mexarg under the

Loan Agreement.

        Under the "principal purpose" test, the Court finds that Mexarg is best suited as a

defendant in this action. The primary issue of this case is that Mobilization has not received any

of its money it loaned to Mexarg, and Mobilization seeks to recover it. Therefore, Mobilization

 would sue Jordan under the JCA and Mexarg under the Loan Agreement. Mexarg may be liable

to Mobilization under the Loan Agreement. Then if it wishes, Mexarg may crossclaim Jordan

 with respect to any breach of the Subcontract Agreement. Not only does this alignment

accurately reflect everyone's perspectives on the primary issue, but it also avoids the undesirable

outcome of dismissing a case for lack ofjurisdiction simply because there is an indispensable

 party. See Fed. R. Civ. P. 19(b).

        Therefore, the Court finds that Mexarg is a necessary party but is not indispensable and

the action need not be dismissed under Rule 12(b)(7).




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                                    IV.    CONCLUSION


        Based on the foregoing reasons, Jordan's Motion to Dismiss is GRANTED IN PART

 AND DENIED IN PART. The Motion is granted in that Counts I, II, and III are dismissed under

 Rule 12(b)(6). The Motion is denied in that the action is not barred by Rule 12(b)(1). The Motion

 is further denied in that Counts IV and V are not barred under Rule 12(b)(6). The Motion is also

 denied in that the case is not barred by Rule 12(b)(7). The Court further ORDERS that Mexarg

 be joined as a defendant pursuant to Federal Rule of Civil Procedure 19(a)(2). The Court further

 ALLOWS Mobilization to amend its Complaint under Federal Rule of Civil Procedure 15(a)(2)

to the extent that it must do so to adequately plead any and all claims against Mexarg within fifteen

(15) days from the date of this Order. The Court DIRECTS the Clerk to provide a copy of this

 Order to the parties.




 IT IS SO ORDERED.                                                   Raymond A.ifeckson
                                                                     United States District Jud^

 Newport News, Virginia
 November^ ,2018




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